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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )        CRIMINAL ACTION NO.
     v.                            )           2:11cr191-MHT
                                   )                (WO)
BRIAN JAVORIS WALKER               )


                                 ORDER

    Based on the representations of the parties made on

the record on May 11, 2016, it is ORDERED:

    (1)    A    hearing   regarding      whether        defendant    Brian

Javoris    Walker     should     receive      a   sentence    reduction

pursuant       to   Amendment     782    to       the    United     States

Sentencing Guidelines is set on June 16, 2016, at 10:00

a.m., in Courtroom 2FMJ of the Frank M. Johnson Jr.

United States Courthouse Complex, One Church Street,

Montgomery, Alabama.

    (2) The         government     is      to      arrange    for       the

defendant’s presence at the hearing.

    It is further ORDERED that the parties shall submit

pre-hearing briefs as follows:
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    (1) The government shall submit its brief by June

2, 2016.

    (2) The defendant shall submit his brief by June 9,

2016.

    DONE, this the 12th day of May, 2016.

                                  _ /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
